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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA


    JOHN C. EASTMAN, et al.,                           Civil Action No.: 8:22cv99
                            Plaintiffs,
                    v.

    BENNIE G. THOMPSON, et al.,

                           Defendants.


                              MOTION TO CONTINUE HEARING

        Comes now, the plaintiff, John C. Eastman, and moves to continue the hearing scheduled

 for Monday January 24. Plaintiff asserts as follows:

        1. This Court has scheduled a hearing on plaintiff’s application for Temporary Restraining

            Order on Monday January 24. Plaintiff’s reply brief is due this evening.

        2. On the date of filing, Dr. Eastman experienced an unexpected and serious family medical

            emergency which has limited his ability to provide necessary assistance in preparing the

            reply brief. It will also likely prevent him from attending Monday’s hearing. Opposing

            counsel has been advised of some details of the situation. Dr. Eastman can provide

            further details in a sealed filing to the Court if necessary.

        3. In light of his family situation, plaintiff requests a brief continuance of the hearing date

            and permission to file his reply brief by Monday at 5pm.

        4. Undersigned counsel has discussed this matter with opposing counsel for all parties, who

            have been very understanding of the situation. Counsel will continue to engage with

            opposing counsel with the goal of proposing an alternate date and/or briefing schedule

            that all parties can consent to and that works with the Court’s schedule and will update

            the Court in a subsequent filing.
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       For the foregoing reasons, plaintiff John C. Eastman respectfully requests a brief

 continuance of the TRO hearing to a date agreeable to all parties and the Court. Plaintiff further

 requests permission to file his reply brief by 5pm on Monday.


 January 22, 2022                                             Respectfully submitted,



                                                              /s/Anthony T. Caso
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                                                              Counsel for Plaintiff




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   A motion to appear pro hac vice for attorney Charles Burnham will be filed as soon as the necessary Certificates of
 Good Standing can be obtained. As described above, the emergency nature of this matter did not allow time to request
 the certificates.
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